IN THE UNITED STATES DISTRICT COURT

 

FOR THE NORTHERN DISTRICT OF ILLINOIS 3 4%
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COLETTE M. LUCKIE, ) — BS
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Plaintiff, ) ae a on
V. ) No. tele os
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AMERITECH CORPORATION, ) Plaintiff Demands Jury Trial D CK
, ET
Defendant, ) JUDGE MANNING gy 5 fn
2007
MPLAINT — MAGISTRATE JUDGE KEYS

Plaintiff COLETTE M. LUCKIE, by and through her attorneys, BARCLAY &

DIXON, P.C., hereby complains against Defendant AMERITECH CORPORATION, alleging as

follows:

A. JURISDICTION, PARTIES AND VENUE

1. Plaintiff Colette M. Luckie is an African-American female who resided in the

City of Chicago, State of Illinois, County of Cook, at all times relevant hereto. Her current
official residential address is in the State of Florida.

2. Ameritech Corporation (“Ameritech”) transacted business in the City of Chicago,

State of Illinois, and County of Cook at all times pertinent hereto.

3. This Court has jurisdiction of this matter under Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. §2000e et seq., and 28 U.S.C. §§1331 and 1343.

4, This venue is the appropriate judicial district pursuant to 28 U.S.C. §1391, as the

acts giving rise to the causes of action occurred within this district.

5. Ameritech is an employer as defined by the pertinent federal antidiscrimination

statute.

 
 

6. Luckie has exhausted her administrative remedies after timely filing a
discrimination charge alleging racial harassment and retaliation with the local administrative
agency in or about March, 2000.

7. Luckie timely files this action upon receipt of a Notice of Right to Sue from the
Equal Employment Opportunity Commission (“EEOC”) dated August 10, 2001.

B. BACKGROUND ALLEGATIONS

8. Luckie, an African-American female, began her employment with Ameritech in
or about September, 1995.

9. In or about May, 1999, Luckie held a senior manager position with Ameritech as
Senior Manager-Organizational Development and Performance, resulting from a promotion in or
about 1997,

10. In said position, Luckie supervised a team of approximately twelve (12)
individuals, including approximately four (4) minorities.

11. In or about May, 1999, a Gwen Patterson, a white female who held a vice-
president level position, became Luckie’s immediate supervisor.

12. Based upon information and belief, Patterson had been transferred to Luckie’s
business unit following allegations that Patterson had engaged in unlawful racial discrimination,
including, but not limited to, demoting and harassing minorities without justification and due to
their race.

13. Shortly after becoming Luckie’s supervisor, Patterson tried to coerce and force
Luckie to create performance problems for the minority employees only under Luckie’s

supervision.
 

14. Indeed, Patterson made a statement on one occasion to the effect that she “wanted

to change the complexion of the team” during a meeting with Luckie when Luckie questioned
Patterson’s actions.

15. | Said minorities did not have any performance issues.

16. After Ameritech knowingly transferred Patterson to Luckie’s unit, Patterson
began demoting Luckie’s colleagues who were minorities. The minorities were replaced by
employees outside of the protected class and possessing lesser qualifications, i.e., performance
problems.

17. ‘In or about May, 1999 and at all times relevant hereto, Luckie performed her job
satisfactorily, receiving rankings of “Above Expectations” and “Outstanding.”

COUNT I
RACIAL HARASSMENT

18, Luckie realleges and incorporates Paragraphs 1-17 as if they were fully set forth
herein.

19. Patterson, who at all times was Ameritech’s employee and agent, attempted to
coerce and unduly force Luckie to create unsubstantiated performance issues for minority
employees under her supervision, which could result in their termination.

20. Other similarly situated employees not in the protected class were treated
differently than Luckie.

21. Patterson engaged in such conduct because of Luckie’s race.

22. Luckie feared for her own job, because she was African-American and disagreed
with what Patterson attempted to do to said minorities.

23. Patterson repeatedly demanded that Luckie engage in conduct described in

Paragraph 13 herein.
24.
25.
including emotional distress, lost compensation, lost bonuses and other benefits, lost stock

options and/or gifts, legal expenses, lost job opportunities, and monies that she would have been

 

On or about October 4, 1999, Luckie was discharged from her employment.

As a direct result of Ameritech’s actions, Luckie suffered severe damages,

entitled to pursuant to a buyout that occurred shortly after her discharge.

26.

unlawful discrimination due to her race, African-American, and done intentionally and with

Ameritech’s reason for her discharge, poor work performance, was pretextual for

reckless indifference for Luckie’s civil rights.

WHEREFORE, Plaintiff COLETTE M. LUCKIE respectfully requests that this Court

grant her a trial by jury and the following relief:

(1)

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(6)

(7)

Enter an Order finding that defendant unlawfully engaged in racial
harassment of plaintiff due to her race, African-American;

Enter a preliminary and permanent injunction prohibiting defendant from
engaging in unlawful racial harassment;

Enter an Order requiring defendant to reinstate Luckie’s employment to a
position commensurate to that which she had before her unlawful
discharge, without lost seniority and benefits;

Enter judgment in Luckie’s favor and against defendant for compensatory
damages in a sum no less than Two Hundred and Fifty Thousand Dollars

($250,000);

Enter judgment in Luckie’s favor and against defendant for punitive
damages in a sum no less than Fifty Thousand Dollars ($50,000) for
defendant’s intentional, willful and wanton acts against Luckie, and
reckless disregard for her civil rights based upon her race and in retaliation
for opposing unlawful race discrimination;

Enter judgment for Luckie and against defendant for reasonable
attorneys’ fees and costs incurred in bringing this action opposing
unlawful racial harassment and retaliation; and

Such further relief that this Court deems just and proper.
 

COUNT I
RETALIATION

27. Luckie realleges and incorporates Paragraphs 1-26 of Count I as if they were fully
set forth herein.

28. On or about August 4, 1999, Luckie complained to Ameritech’s internal EEO
office regarding Patterson’s behavior described herein.

29, On or about August 27, 1999, Patterson placed or otherwise caused Luckie to be
placed on a performance improvement plan (“PIP”).

30. Luckie was not on a PIP prior to that time.

31. Luckie states that she was placed on the PIP, because she opposed unlawful
discrimination due to her race, African-American.

32. On October 4, 1999, Ameritech terminated Luckie’s employment, allegedly due
to poor work performance.

33. Ameritech failed to investigate Luckie’s EEO complaint.

34. Indeed, Luckie received no response to her EEO complaint.

35. Luckie believes that Ameritech terminated her, because she opposed unlawful
discrimination due to her race, African-American.

36. Prior to her discharge, Ameritech knew that it would and planned to offer certain
employees, including but not limited to Luckie, a compensation package as a result of a business
merger/acquisiton, commonly referred to as a buyout.

37. Luckie estimates that her buyout package amount would have been approximately
Sixty Thousand Dollars ($60,000).

38. Based upon information and belief, Ameritech offered buyout packages to certain

employees within three (3) days of her termination.
39.

damages, including lost pay, lost bonuses and other benefits, lost stock options and/or gifs,

 

As a direct result of Ameritech’s intentional actions, Luckie suffered severe

emotional distress, lost job opportunities, and legal expenses.

AQ,

Ameritech engaged in these actions and conduct knowingly, intentionally, and

with reckless disregard for Luckie's civil rights under the pertinent statute.

WHEREFORE, Plaintiff COLETTE M. LUCKIE respectfully requests that this Court

grant her a trial by jury and the following relief:

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(2)

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(7)

Enter an Order finding that defendant unlawfully retaliated against
plaintiff for opposing unlawful racial discrimination;

Enter a preliminary and permanent injunction prohibiting defendant from
engaging in unlawful racial harassment and retaliation;

Enter an Order requiring defendant to reinstate Luckie’s employment to a
position commensurate to that which she had before her unlawful
discharge;

Enter judgment in Luckie’s favor and against defendant for compensatory
damages in a sum no less than Two Hundred and Fifty Thousand Dollars
($250,000);

Enter judgment in Luckie’s favor and against defendant for punitive
damages in a sum no less than Fifty Thousand Dollars ($50,000) for
defendant’s intentional, willful and wanton acts against Luckie, and
reckless disregard for her civil rights based upon her race and in retaliation
for opposing unlawful race discrimination;

Enter judgment for Luckie and against defendant for reasonable
attorneys’ fees and costs incurred in bringing this action opposing

unlawful racial harassment and retaliation; and

Such further relief that this Court deems just and proper.
 

Respectfully submitted,
COLETTE M. LUCKIE

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Onf of Her Attorneys

Lester L. Barclay

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te 276 CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as require
by law, except as provided by local mules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the us:
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE RUMBER) rrokiver’ - —O
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Defendant {Indicate Citizenship of Parties of Business;In  Anothel State -
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- Vi. CAUSE OF ACTION (CITE THE U.S, CiVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.

28.U.S.C. §§1331 And 1343, Title VIT of the Civil Rights Act of 1964.
Plaintiff alleges discharge resulted from unlawful racial harassment and
retaliation for opposing unlawful discrimination..

Vil. REQUESTED IN CHECK IF THIS is AcLASS ACTION PEMAND $ 39 gq © CHECK YES only if demanded in complaint
COMPLAINT O UNDER FR.C.P 23 JURY DEMAND: BYES ONG

 

  

VIII. — This case is not a refiling ofa previously dismiss ion.
CI is a refiling of case number _, previously dismissed by Judge _

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NORTHERN DISTRICT OF ILLINOIS DOCKETED
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vs. | PISEDEL EDs 0 1C 8 6 1 9
AMERITECH CORPO Case Number:
RATION, INC. JUDGE MANNING

Defendant.
APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

COLETTE M, LUCKIE | .
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MAGISTRATE WNGEKEYS~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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